Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 1 of 19 PageID: 118
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 2 of 19 PageID: 119
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 3 of 19 PageID: 120
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 4 of 19 PageID: 121
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 5 of 19 PageID: 122
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 6 of 19 PageID: 123
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 7 of 19 PageID: 124
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 8 of 19 PageID: 125
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 9 of 19 PageID: 126
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 10 of 19 PageID: 127
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 11 of 19 PageID: 128
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 12 of 19 PageID: 129
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 13 of 19 PageID: 130
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 14 of 19 PageID: 131
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 15 of 19 PageID: 132
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 16 of 19 PageID: 133
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 17 of 19 PageID: 134
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 18 of 19 PageID: 135
Case 2:05-cv-03486-JAG-MCA Document 10 Filed 08/24/05 Page 19 of 19 PageID: 136
